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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA



LABMD, INC.,                               )
                             Plaintiff,    )
                                           )
       vs.                                 )       Civil Action No. 15-92
                                           )
                                           )       Judge Mark R. Hornak
TIVERSA HOLDING CORP.formerly              )       Chief Magistrate Judge Maureen P. Kelly
known as TIVERSA, INC.; ROBERT J.          )
BOBACK; M:"ERIC JOHNSON; DOES              )
1-10,                                      )
                         Defendants.       )


                                           ORDER


       AND NOW, this     2k~Y of f\Jouit~, 2016, after Plaintiff LabMD, Inc. filed an
Amended Complaint in the above-captioned matter (ECF No. 125) and after a Motion to Dismiss

was filed by Defendants Ti versa Holding Corp., formerly known as Ti versa, Inc. and Robert J.

Boback ("Defendants") (ECF No. 13 7), and after a Report and Recommendation was filed by

Chief United States Magistrate Judge Kelly (ECF No. 166), and upon consideration of the

Objections filed by Defendants (ECF No. 169), Plaintiffs Response in Opposition to those

Objections (ECF No. 179), the Objections filed by Plaintiff (ECF No. 171), Defendants'

Response in Opposition to those Objections (ECF No. 177), and upon independent review of the

record, and upon consideration of the Magistrate Judge's Report and Recommendation, which is

ADOPTED as the opinion of this Court,

       IT IS HEREBY ORDERED that the Motion to Dismiss, ECF No. 137, is GRANTED as

to Count II (as to Defamatory Statements 1-12, 14-15 and 17-20), Count III, Count IV, Count V,

and Count VI and DENIED as to Count II (as to Defamatory Statements 13 and 16).
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       IT IS FURTHER ORDERED that, pursuant to Rule 4(a)(l) of the Federal Rules of

Appellate Procedure, if any party wishes to appeal from this Order, a notice of appeal, as

provided in Fed. R. App. P. 3, must be filed with the Clerk of Court, United States District Court,

at 700 Grant Street, Room 3110, Pittsburgh, PA 15219, within thirty (30) days.




                                               ark R. Hornak
                                              United States District Judge


cc:    Honorable Maureen P. Kelly
       Chief United States Magistrate Judge

       All Counsel of Record Via CM-ECF
